                 Case 3:22-cr-00426-JSC Document 177-1 Filed 11/15/23 Page 1 of 1

                                   UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA

Case No: 3:22-cr-00426-JSC-1
Case Name: United States of America v David Wayne Depape

                                TRIAL SHEET, EXHIBIT and WITNESS LIST

JUDGE:                            COUNSEL FOR USA:                          COUNSEL FOR DEFENDANT:
Jacqueline Scott Corley           Helen Gilbert/Laura Vartain               Angela Chuang/Jodi Linker
TRIAL DATE:                       COURT REPORTER:                           CLERK:
November 15, 2023 (Day 5)         Ruth Ekhaus                               Ada Means

GOVT.    DEFT.     DATE/TIME
NO.      NO.       OFFERED         ID    REC    DESCRIPTION
                   8:20 a.m.                    Court reconvenes, all parties present. Outside the presence of the
                                                jury, Court and counsel confer re: jury interaction with members of
                                                the public.
                   8:23 a.m.                    Court stands in recess.
                                                Off the record, Court and counsel confer with juror in question.
                   8:33 a.m.                    Court reconvenes, all parties and the jury are present. The Court
                                                gives the jury further preliminary instructions.
                   8:46 a.m.                    Closing statement for the government presented by Ms. Gilbert.
                   9:51 a.m.                    Court called for a brief recess.
                   10:10 a.m.                   Court reconvenes, all parties and the jury are present. Closing
                                                statement for the defense presented by Ms. Chuang.
                   10:57 a.m.                   Rebuttal closing statement for the government presented by Ms.
                                                Gilbert.
                   11:11 a.m.                   The Court gives the jury their final instructions.
                   11:20 a.m.                   The jury retires to the jury room for their lunch break. The Court
                                                stands in recess, to await the jury’s verdict.
                   12:00 p.m.                   All members of the jury are in the jury room to commence their
                                                deliberation. The Court continues to stand in recess, to await the
                                                jury’s verdict.
                   2:15 p.m.                    The jury takes a break from their deliberation.
                   2:30 p.m.                    The jury resumes their deliberation.
                   2:40 p.m.                    The Court received Note #1 from the jury and all parties were
                                                summoned.
                   2:52 p.m.                    The Court is informed by the jury that the issue contained in Note #1
                                                is resolved. The Court continues to stand in recess, to await the jury’s
                                                verdict.
                   3:45 p.m.                    The jury takes a break from their deliberation.
                   4:00 p.m.                    The jury resumes their deliberation.
                   5:00 p.m.                    Court is adjourned for the day. The jury to resume their deliberation
                                                on November 16, 2023.




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